1           Edward J. Maney
            Chapter 13 Trustee
2           101 N. First Ave., Suite 1775
            Phoenix, Arizona 85003
3           Telephone (602) 277-3776
            ejm@maney13trustee.com
4
                                    IN THE UNITED STATES BANKRUPTCY COURT
5                                           FOR THE DISTRICT OF ARIZONA

6           In re:                                           )      CHAPTER 13 PROCEEDINGS
                                                             )
7                                                            )      CASE NO. # 2: 19-07845-MCW
                        JOSHUA B. BANE,                      )
8                       TIARA Y. CANIDY-BANE,                )      TRUSTEE'S EVALUATION AND
                                                             )      RECOMMENDATION(S) REPORT WITH
9                                                            )      NOTICE OF POTENTIAL DISMISSAL IF
                                                             )      CONDITIONS ARE NOT SATISFIED
10                                                           )      RE: CHAPTER 13 PLAN
                                            (Debtor(s)       )      docket #6  filed June 25, 2019
11

12                   Edward J. Maney, Trustee, has analyzed the Debtors’ Chapter 13 Plan and supporting

13          documents and submits the following evaluation and recommendation(s):
14
       General requirements:
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            a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                   all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                     the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                   submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19      b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                     amended plan or motion for moratorium.
20
        c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                   Confirming Plan unless an amended or modified plan is filed and noticed out.

22      d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                     copies of their federal and state income tax returns for every year during the duration of the
23                   Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24      e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                     Order shall not constitute an informal proof of claim for any creditor.”
25
       f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                   remit all payments on or before the stated due date each month. Debtor is advised that when
                     payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                     a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                   Case can be discharged. This requirement is effective regardless of Plan payments
                     suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

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        g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
4            on all required tax filings and any domestic support orders.
5       h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
             Confirming, that they are current on all payments that have come due on any Domestic Support
6            Orders since the filing of their case and that they are current on all required tax return
             filings [pursuant to 11 U.S.C. §1308].
7
        i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
8            accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
             Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
9
             Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
10           counsel.

11

12
       Specific Recommendations:
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14
       1.    The Trustee requires the debtors supply a copy of bank statement that reveals the balance
15           on hand -- in all their bank accounts -- on the date of the filing of their case.
16     2.    Conn Appliance (tv) has filed an objection to the Plan which must be resolved before the Plan
             can be confirmed.
17
       3.    The Chapter 13 Plan states that Exeter Finance (2016 Dodge Grand Caravan- claim #3), the
18           Internal Revenue Service (priority claim #4) and the Arizona Department of Revenue (priority
             claim #2) will be paid amounts greater than that listed on their proofs of claim. The debtors may
19
             use the lesser claim amounts in the Stipulated Order Confirming Plan.
20
       4.    The Plan proposes payment of the secured claims to Ally Financial (2016 Dodge Journey)
21           and Acceptance Now (furniture) and Lease It Keep It (furniture) who have not filed secured
             proofs of claim. The Trustee requires the Debtor(s) to provide verification of the creditor’s
22           security interest by providing him with a copy of the security documents, such as a security
             agreement, UCC-1, title, deed of trust or the like. Moreover, the Trustee requires that the
23           Order Confirming Plan provide: “The Trustee has authority to pay on the secured debts owed
             to Ally Financial (2016 Dodge Journey, Acceptance Now and Lease It Keep It even though
24           these creditors have not filed a secured proof of claim, but the Plan and this Order are not an
             informal proof of claim for any creditor.” Alternatively, if the security interest cannot be
25           verified by the Debtor(s), then the Debtor(s) may delete the proposed treatment in a proposed
             order confirming plan:
26           a.      pursuant to the language in Section (C)(5) of the Model Plan;
             b.      after filing a motion and providing 28 days’ notice to the creditor of the intent to delete
27                   the proposed secured treatment from the Plan; or
             c.      by having the creditor, through its agent/representative or legal counsel, sign the order
28                   confirming plan approving the treatment of its claim through the Plan.

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4
       5.   Considering items #2 and #3 above, the Trustee's analysis reveals a $5,776 funding shortfall,
5           which must be cured before the Plan can be confirmed.
6      6.   Plan fails to provide a specific day of the month by which the first and subsequent payments are
            to be paid into the Plan. The Trustee has established a constructive payment due date of the
7           25th day of the month with the first interim payment to be paid on or before July 25, 2019.
8
       7.   Plan payments are currently delinquent $951 with a payment of $951 coming due September 25,
9           2019.

10

11                   In summary, the Plan can be confirmed subject to the condition(s) noted above,
            adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
12          Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
            the debtors (where applicable), debtors counsel and objecting creditors if there are any.
13           General unsecured creditors (including secured creditors with unsecured deficiency balances)
            will be paid through the Trustee, subject to timely filed and allowed claims. Chapter 7
14          reconciliation requirement must be met given debtors’ scheduled equity in non-exempt property
            at petition date. You are hereby advised that the Trustee may lodge an Order of Dismissal
15          should Debtor fail to resolve item(s) #1, #5, #7 above and submit a Stipulated Order
            Confirming to the Trustee for review and signature or request a hearing within 30 days
16          from the date of the mailing of this Trustee's Recommendation.

17

18          Date See Electronic Signature Block

19                                                               EDWARD J. MANEY,
                                                                 CHAPTER 13 TRUSTEE
20

21


                                                             Edward Digitally
22
                                                                                signed
23                                                                     by Edward J.
24                                                           J. Maney, Maney, Esq.
                                                                       Date: 2019.09.17
25

26
                                                          By:Esq.      14:42:19 -07'00'
                                                                _______________________________
                                                                 Edward J. Maney ABN 12256
                                                                 CHAPTER 13 TRUSTEE
27                                                               101 North First Ave., Suite 1775
                                                                 Phoenix, Arizona 85003
28                                                               (602) 277-3776
                                                                 ejm@maney13trustee.com

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4           Copies of the forgoing
            mailed on [see electronic signature],
5           to the following:

6

7
            Joshua Bane
8           Tiara Canidy-Bane
            12434 W. Via Camille Drive
9           El Mirage, Arizona 85335
            Debtors
10

11

12          Thomas A. McAvity, Esq.
            4742 North 24th Street
13          Suite #300
            Phoenix, Arizona 85016
14          Debtors’ counsel

15

16

17

18

19
                     Grace Digitally signed
                            by Grace Harley

                     Harley 15:33:18 -07'00'
                            Date: 2019.09.17
20
            By:
21                   Trustee’s Clerk

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